                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                       Plaintiff,                 )
 v.                                               )
                                                  )           No. 3:20-CR-85-RLJ-DCP-2
 HEAVYN B. THOMAS,                                )
                                                  )
                       Defendant.                 )

                                MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This case is before the Court on the Defendant’s Motion to Continue Trial

 and All Associated Deadlines [Doc. 53], filed on September 29, 2021. Defendant asks the Court

 to continue the November 2, 2021 trial date because counsel needs additional time—due to facts

 and circumstances unique to this case—to work with the Government towards a potential

 resolution of this case. The motion relates that Defendant understands all time is excludable under

 the Speedy Trial Act and that the Government does not oppose the requested continuance. The

 parties have conferred with Chambers and agreed on a new trial date of February 8, 2022.

       The Court finds Defendant Thomas’s Motion to Continue Trial and All Associated

 Deadlines [Doc. 53] is unopposed by the Government and well-taken. The Court also finds that

 the ends of justice served by granting a continuance outweigh the interest of the Defendant and the

 public in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Based upon the representations in the motion,

 defense counsel needs additional time to confer with Defendant Thomas regarding plea

 negotiations and with the Government to pursue a resolution of this case. If negotiations are not

 fruitful, defense counsel will need additional time to prepare the case for trial. Thus, the Court




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 concludes that without a continuance, defense counsel would not have the reasonable time

 necessary to prepare for trial, even proceeding with due diligence.              See 18 U.S.C. §

 3161(h)(7)(B)(iv).

        The Motion to Continue Trial and All Associated Deadlines [Doc. 53] is GRANTED. The

 trial of this case is reset to February 8, 2022. The Court finds that all the time between the filing

 of the motion on September 29, 2021, and the new trial date of February 8, 2022, is fully excludable

 time under the Speedy Trial Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(1)(D)

 & -(7)(A)-(B). The Court also sets a new schedule in this case, which is stated in detail below.

        Accordingly, it is ORDERED as follows:

           (1) The Defendant’s Motion to Continue Trial and All Associated
               Deadlines [Doc. 53] is GRANTED;

           (2) The trial of this matter is reset to commence on
               February 8, 2022, at 9:00 a.m., before the Honorable R. Leon
               Jordan, United States District Judge;

           (3) All time between the filing of the motion on September 29, 2021,
               and the new trial date of February 8, 2022, is fully excludable time
               under the Speedy Trial Act for the reasons set forth herein;

           (4) The new deadline for filing a plea agreement in the record and
               providing reciprocal discovery is January 7, 2022;

           (5) The parties are to appear before the undersigned for a final pretrial
               conference on January 25, 2022, at 10:00 a.m.;

           (6) The deadline for filing motions in limine is January 24, 2022; and

           (7) Requests for special jury instructions with appropriate citations to
               authority pursuant to Local Rule 7.4. shall be filed on or before
               January 28, 2022.

                IT IS SO ORDERED.
                                                       ENTER:

                                                       Debra C. Poplin
                                                       United States Magistrate Judge

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